         Case 1:18-cr-00224-AJN Document 378 Filed 09/16/20 Page 1 of 2


                                                                                     9/16/20
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                               ORDER
                - v. -
                                                               S2 18 Cr. 224 (AJN)
 BAHRAM KARIMI,

                                 Defendant.


               1.        On January 31, 2020, Bahram Karimi (“Karimi”) was charged in

Superseding Indictment S2 18 Cr. 224 (AJN) (the “S2 Indictment”) with (1) conspiracy to

commit bank fraud, in violation of 18 U.S.C. § 1349; (2) bank fraud, in violation of 18 U.S.C.

§ 1344; and (3) making false statements to federal officials, in violation of 18 U.S.C. § 1001.

Karimi has not been arrested based on the charges in the S2 Indictment.

               2.        On June 5, 2020, the Government requested that a nolle prosequi be filed

as to Karimi. The Government set forth its reasons for seeking the nolle order by letter dated

July 2, 2020. (Dkt. 354).

               3.        On August 28, 2020, the Government advised the Court that it considered

dismissal with prejudice pursuant to Federal Rule of Criminal Procedure 48(a) to be the

appropriate mechanism for dismissing the S2 Indictment.
        Case 1:18-cr-00224-AJN Document 378 Filed 09/16/20 Page 2 of 2




              4.     For the reasons set forth in the Government’s July 2, 2020 letter (Dkt. 354

at 6-7), the Court GRANTS the Government’s motion to dismiss with prejudice Superseding

Indictment S2 18 Cr. 224 (AJN).


SO ORDERED:
                                           _______________________________________
                                           HONORABLE ALISON J. NATHAN
                                           United States District Judge
                                           Southern District of New York


Dated: New York, New York
      September
       ________ 16
                __, 2020
